Case 20-12312-mkn Doc15_ Entered 06/01/20 10:25:50 Page 1 of 11

Fill in this information to identify the case:

Debtorname LAREDO INVESTMENTS LLC

United States Bankruptcy Court for the: DISTRICT OF NEVADA

Case number (ifknown) 20-42312-MKN
(0 Check if this is an

amended filing

 

 

Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors 1215

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,

and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,

1519, and 3571.

fd Declaration and signature

| am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
individual serving as a representative of the debtor in this case.

 

| have examined the information in the documents checked below and | have a reasonable belief that the information is true and correct:

Schedule A/B: Assets~Real and Personal Property (Official Form 206A/B)
Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
Schedule H: Codebtors (Official Form 206H)

Summary of Assets and Liabilities for Non-individuals (Official Form 206Sum)

Amended Schedule
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)

 

OROR RRR ee

Other document that requires a declaration

 

| declare under penalty of perjury that the foregoing is true and correct.

Executedon June 1, 2020 X Is! Mathieu Serre
Signature of individual signing on behalf of debtor

Mathieu Serre
Printed name

Managing Member
Position or relationship to debtor

Official Form 202 Declaration Under Penalty of Perjury for Non-Individual Debtors

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Fill in this information to identify the case:
Debtor name | LAREDO INVESTMENTS LLC
United States Bankruptcy Court for the: DISTRICT OF NEVADA O Check if this is an

 

 

Case number (if known): 20-12312-MKN amended filing

 

 

 

Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders 12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 

 

 

 

 

 

 

 

 

 

 

 

Name of creditor and Name, telephone number | Nature of claim Indicate if claim | Amount of claim

complete mailing address, | and email address of (for example, trade is contingent, | If the claim is fully unsecured, fill in only unsecured claim amount. if

including zip code creditor contact debts, bank loans, unliquidated, or | claim is partially secured, fill in total claim amount and deduction for
professional services, disputed value of collateral or setoff to calculate unsecured claim.
and government Total claim, if Deduction for value | Unsecured claim
contracts) partially secured of collateral or setoff

-NONE-

Official form 204 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims page 1

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Fill in this information to identify the case:

Debtorname LAREDO INVESTMENTS LLC

United States Bankruptcy Court for the: DISTRICT OF NEVADA

 

Case number (ifknown) 20-12312-MKN

 

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amended filing

 

 

Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals 12/15

 

Summary of Assets

1. Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

ja. Real property:

 

 

 

 

 

Copy line 88 from Schedule A/Bo.cccccccccccccscssccssesessesvcsstcssssscssussscessssusesseassesseesssaseessesssescessseeseeseessssucessecreceressceneeeess $ 600,000.00
1b. Total personal property:
Copy line 914A from Schedule A/B..cccccccsssesssccsssssssesssssesssesssssssssssssesessavsssesecssseeesssiinssssseasasinesesseesisnvnavese $ 0.00
1c. Total of all property:
Copy line 92 from Schedule A/Biic.cccecccccescessssssesssssesscsssssrcssssssscaseassssnsarsusscssesssesssesessessnatanseanseneeanssnneaneeneeeseetes $ 600,000.00
Summary of Liabilities
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule Duo... cece $ 435,000.00
3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
3a. Total claim amounts of priority unsecured claims:
Copy the total claims from Part 1 from line 5a of Schedule E/F oo... c ec cecs ete ceeet cee sseneesenesseedeenseeeseneens $ 0.00
3b. Total amount of claims of nonpriority amount of unsecured claims:
Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F oo... ccc etter eteeeetennens +$ 0.00
A. Total Hiabrilities ooo cc cece cencee cence e cece eee aee nace ee eeeeeeeee eee ne eee nee pen te Hnn ee HEHE Ende SED ROA SLES DeLOU ESE SSCepHE Sea HES ene eaaeaeaeaea
Lines 2+ 3a + 3b $ 435,000.00
Official Form 206Sum Summary of Assets and Liabilities for Non-Individuals page 1

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Fill in this information to identify the case:

Debtorname LAREDO INVESTMENTS LLC

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

Case number (if known) 20-412312-MKN

 

(1 Check if this is an
amended filing

 

 

Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property 12145

Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor's name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.

Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

HI No. Go to Part 2.

C] Yes Fill in the information below.

All cash or cash equivalents owned or controlled by the debtor Current value of
debtor's interest

Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

BI No. Go to Part 3.
C Yes Fill in the information below.

arsed Accounts receivable
10. Does the debtor have any accounts receivable?

HI No. Go to Part 4.
CI Yes Fill in the information below.

Investments
13. Does the debtor own any investments?

Hi No. Go to Part 5.
(J Yes Fill in the information below.

Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

BA No. Go to Part 6.
O Yes Fill in the information below.

Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

Mi No. Goto Part 7.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 1

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Debtor LAREDO INVESTMENTS LLC Case number (ifknown) 20-12312-MKN

Name
C1] Yes Fill in the information below.

Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

ME No. Go to Part 8.
CI Yes Fill in the information below.

Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

Wi No. Goto Part 9.
(J Yes Fill in the information below.

54. Does the debtor own or lease any real property?

[] No. Go to Part 10.
Ml Yes Fill in the information below.

55. Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest
Description and location of Nature and Net book value of Valuation method used Current value of
property extent of debtor's interest for current value debtor's interest
Include street address or other debtor's interest (Where available)
description such as Assessor in property

Parcel Number (APN), and type
of property (for example,
acreage, factory, warehouse,
apartment or office building, if

 

 

 

available.
55.1. 7382 Laredo St
Las Vegas, NV 89117 Fee simple $0.00 $600,000.00
56. Total of Part 9. $600,000.00

 

 

Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
Copy the total to line 88.

 

57. Is a depreciation schedule available for any of the property listed in Part 9?
Mino
D Yes

58. Has any of the property listed in Part 9 been appraised by a professional within the last year?
BNo
Cl Yes

eel St LON Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

Mi No. Go to Part 11.
(] Yes Fill in the information below.

eel All other assets

70. Does the debtor own any other assets that have not yet been reported on this form?
Include all interests in executory contracts and unexpired leases not previously reported on this form.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 2

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Debtor LAREDO INVESTMENTS LLC Case number (if known) 20-12312-MKN

 

 

Name

Mi No. Go to Part 12.
(J Yes Fill in the information below.

Official Form 206A/B Schedule A/B Assets - Real and Personal Property page 3

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Debtor LAREDO INVESTMENTS LLC

Name

ae 1a as Summary

in Part 12 copy all of the totals from the earlier parts of the form

80.

81.
82.
83.
84.
85.

86.

87.

88.

89.

90.

91.

92.

Official Form 206A/B

Case number (if known) 20-12312-MKN

 

Type of property

Cash, cash equivalents, and financial assets.
Copy line 5, Part 1

Deposits and prepayments. Copy line 9, Part 2.
Accounts receivable. Copy line 12, Part 3.

Investments. Copy line 17, Part 4.

Inventory. Copy line 23, Part 5.

Farming and fishing-related assets. Copy line 33, Part 6.

Office furniture, fixtures, and equipment; and collectibles.
Copy line 43, Part 7.

Machinery, equipment, and vehicles. Copy line 51, Part 8.

Real property. Copy line 56, Part 9........cceccccccececceceeceeeeeeceteeeeceneeeenneteetenee

intangibles and intellectual property. Copy line 66, Part 10.

All other assets. Copy line 78, Part 11.

Current value of
personal property

$0.00
$0.00
$0.00
$0.00
$0.00

$0.00

$0.00

$0.00

$0.00

$0.00

Current value of real

property

 

 

$600,000.00

 

 

 

 

Total. Add lines 80 through 90 for each column

 

$0.00

 

+ 91b.

 

$600,000.00

 

 

 

Total of all property on Schedule A/B. Add lines 91a+91b=92

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Schedule A/B Assets - Real and Personal Property

 

 

$600,000.00

 

 

page 4

Best Case Bankruptcy
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SMB CMU elim eM Cis Mime ee

Debtorname LAREDO INVESTMENTS LLC

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

Case number (if known) 20-12312-MKN

 

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amended filing

 

 

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 12/15

Be as complete and accurate as possible.
1, Do any creditors have claims secured by debtor's property?
(J No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.

Mf Yes. Fill in all of the information below.
List Creditors Who Have Secured Claims

2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured

claim, list the creditor separately for each claim. Amount of claim Value of collateral
that supports this

Do not deduct the value claim

Column A Column B

 

 

 

 

 

 

 

 

 

 

 

of collateral.
24 SECURTIYNATIONAL
-' | MORTGAGE COMPANY Describe debtor's property that is subject to a lien $435,000.00 $600,000.00

Creditor's Name 7382 Laredo St
5300 SOUTH 360 WEST Las Vegas, NV 89117
SUITE 300
Salt Lake City, UT 84123
Creditors mailing address Describe the lien

Deed of Trust

is the creditor an insider or related party?

Hino
Creditors email address, if known oO Yes

ls anyone else liable on this claim?
Date debt was incurred Mino
3/2018 (CD Yes. Fill out Schedule H: Codebtors (Official Form 206H)
Last 4 digits of account number
1828
Do multiple creditors have an As of the petition filing date, the claim is:
interest in the same property? Check all that apply
WNo QO Contingent
C] Yes. Specify each creditor, CJ untiquidated
including this creditor and its relative Wl disputed
priority.

 

 

3. Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any. $435,000.00

List Others to Be Notified for a Debt Already Listed in Part 1

List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

if no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.

 

Name and address On which fine in Part 1 did Last 4 digits of
you enter the related creditor? account number for
this entity
INTEGRATED LENDER SERVICES INC
2461 WEST LA PALMA AVE Line 2.1
SUITE 120

Anaheim, CA $2801

Official Form 206D Schedule D: Creditors Who Have Claims Secured by Property page 1 of 1
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Fill in this information to identify the case:

Debtorname LAREDO INVESTMENTS LLC

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

Case number (ifknown) 20-12312-MKN

 

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amended filing

 

 

Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims 1215

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. if more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 

List All Creditors with PRIORITY Unsecured Claims
1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

MB No. Go to Part 2.

CO Yes. Go to line 2.

List Ail Creditors with NONPRIORITY Unsecured Claims
3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill

out and attach the Additional Page of Part 2.
Nonpriority creditor's name and mailing address As of the petition filing date, the claim is: Check ail that apply.

Ol Contingent

0 unliquidated
Date or dates debt was incurred oO Disputed

Last 4 digits of account number . .
— Basis for the claim:

Is the claim subject to offset? Cino [I Yes

List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for unsecured creditors.

If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. if additional pages are needed, copy the next page.

Name and mailing address On which line in Parti or Part 2 is the Last 4 digits of
related creditor (if any) listed? account number, if
any

Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
Total of claim amounts

 

Sa. Total claims from Part 1 5a. $ 0.00
5b. Total claims from Part 2 Sb. + §$ 0.00
Sc. Total of Parts 1 and 2

Lines 5a + 5b = 5c. Sc. $ 0.00

 

 

 

 

Official Form 206E/F Schedule E/F: Creditors Who Have Unsecured Claims page 1 of 1

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Fill in this information to identify the case:

Debtorname LAREDO INVESTMENTS LLC

 

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

 

Case number (ifknown) 20-12312-MKN

 

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amended filing

 

 

Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12/15

 

Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1. Does the debtor have any executory contracts or unexpired leases?
Ml No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.

CO Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal Property
(Official Form 206A/B).

2. List all contracts and unexpired leases State the name and mailing address for all other parties with
whom the debtor has an executory contract or unexpired
lease

2.1 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

 

 

2.2 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

 

 

2.3 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

 

 

2.4 State what the contract or
lease is for and the nature
of the debtor's interest

State the term remaining

List the contract number of
any government contract

 

 

Official Form 206G Schedule G: Executory Contracts and Unexpired Leases Page 1 of 1
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Fill in this information to identify the case:

Debtorname LAREDO INVESTMENTS LLC

 

United States Bankruptcy Court forthe: DISTRICT OF NEVADA

 

Case number (ifknown) 20-42312-MKN

 

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amended filing

 

 

Official Form 206H
Schedule H: Your Codebtors 42115

 

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

1. Do you have any codebtors?

C1 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
Yes

2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.

 

Column 1: Codebtor Column 2: Creditor
Name Mailing Address Name Check ail schedules
that apply:
2.1 Matteu Serre 82 Ocean Harbour Ln. Ob
Las Vegas, NV 89148 CO EF
Personal Guarantor on note and First OG
Deed of Trust ~~
Official Form 206H Schedule H: Your Codebtors Page 1 of 1

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